Case 1:11-cv-20503-JEM Document 18 Entered on FLSD Docket 05/23/2011 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                             CASE NO: 11-cv-20503 MARTINEZ/BROWN

  EMILIO PINERO,                                     )
                                                     )
          Plaintiff,                                 )
                                                     )
  vs.                                                )
                                                     )
  L&A ALTON CORPORATION, a Florida                   )
  corporation,                                       )
                                                     )
          Defendant.                                 )
                                                     /


                       JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

               Plaintiff, EMILIO PINERO (hereinafter “Plaintiff”), by and through his undersigned

        counsel, and Defendant, L&A ALTON CORPORATION (hereinafter “Defendant”), by

        and through their undersigned counsel, and pursuant to the provisions of Rule 41(a)(1) of

        the Federal Rules of Civil Procedure, hereby stipulate to a dismissal of this action with

        prejudice.

               A resolution of all matters in dispute has been made pursuant to a certain

        Settlement Agreement between the parties. All parties shall bear their own attorneys

        fees, costs and expenses, other than those specified in said Settlement Agreement.




                                                                                MIA 181,885,109v1 5-17-11
Case 1:11-cv-20503-JEM Document 18 Entered on FLSD Docket 05/23/2011 Page 2 of 2

                                                   CASE NO: 11-cv-20503 MARTINEZ/BROWN


   Respectfully submitted,

Dated this 23rd day of May, 2011                   Dated this 23rd day of May, 2011
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By:     /s/ Lauren N. Wassenberg________
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                                      CERTIFICATE OF SERVICE

          I HEREBY certify that on this 23rd day of May, 2011, I electronically filed the foregoing

   document with the Court using CM/ECF. I also certify that the foregoing document is being

   served on this day on all counsel of record or pro se parties via transmission of Notices of

   Electronic Filing generated by CM/ECF.



                                                             /s/ Robert Fine
                                                             ROBERT FINE




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